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 April 13, 2016


 BY HAND
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 Hon. Victor Marrero
 United States District Court
 Southern District ofNew York                   .' .
 500 Pearl Street
 New York, New York 10007

 Re:    Kaplan v. S.A.C. Capital Advisors, L.P., et al., No. 12 Civ. 9350 (VM) (KNF)

 Dear Judge Marrero:

 Pursuant to Paragraph II.A of Your Honor's Individual Practices, we write on behalf of
 Defendant Mathew Martoma to request a pre-motion conference to set forth the issues on which
 Mr. Martoma seeks to move for summary judgment. Specifically, Mr. Martoma seeks to move
 for partial summary judgment on the ground that Plaintiffs have failed to prove a required
 element of their claims for tippee liability against him - namely, damages attributable to
 Mr. Martoma. The parties have met and conferred concerning this request.

 Plaintiffs bring claims for tippee liability against Mr. Martoma under Section lO(b) (and Rule
 lOb-5 promulgated thereunder) and Section 20A of the Securities Exchange Act of 1934 (the
 "Exchange Act"). (See Second Am. Compl. ~~ 652-56 (Section lO(b)), 667-71 (Section 20A).)

 Plaintiffs must establish damages - including profits gained and losses avoided - to prove their
 claims for tippee liability against Mr. Martoma. Indeed, this Court has held in this case that
 "Section 20A, which governs liability to contemporaneous traders for insider trading, limits
 damages to 'the profit gained or loss avoided in the transaction or transactions that are the
 subject of the violation."' (8/14/2014 Decision and Order (Dkt. # 152), at 9 (quoting 15 U .S.C.
 § 78t-l(b)(l).)

 Establishing damages for claims under the Exchange Act requires expert testimony, as courts
 have repeatedly held. "Undoubtedly, expert testimony would be needed to fix not only the
 amount, but the existence, of actual damages." In re Warner Commc'ns Sec. Litig., 618 F. Supp.
 735, 744 (S.D.N.Y. 1985), aff'd, 798 F.2d 35 (2d Cir. 1986); see also Carpe v. Aquila, Inc.,
 No. 02-0388-CV-W-FJG, 2005 WL 1138833, at *8 (W.D. Mo. Mar. 23, 2005) ("In a Section
 1O(b) and Rule 1Ob-5 case, expert testimony is required in order for plaintiffs to meet their
 burden of proof in establishing the fact of damages and the means of calculation of same.
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 Therefore, summary judgment should be granted in defendants' favor as to plaintiffs'
 Section IO(b) and Rule lOb-5 claims." (citing, inter alia, In re Warner Commc'ns)).

 Plaintiffs seek to establish damages solely through the opinions of Gregg A. Jarrell and Arcady
 Zaydenverg. At the request of Plaintiffs' counsel, Professor Jarrell discussed the methodology
 for calculating per-share damages to class members applied in Elkind v. Liggett & Meyers, Inc.,
 635 F.2d 156 (2d Cir. 1980). (12/4/2015 Jarrell Report~ 104; see also Jarrell Dep. 119:8-13.)
 Professor Jarrell testified that Elkind requires making two calculations - (1) a calculation of the
 investor's loss equal to the difference between the original transaction price and the securities
 price up to a reasonable time after he learns of the tipped information or after there is a public
 disclosure of it, and (2) the amount gained by the inside trader, i.e., disgorgement - and then
 taking the lesser of the two calculations. (Jarrell Dep. 119:14-120:12; 12/4/2015 Jarrell Report
 ~~ 105-06.) The second calculation, disgorgement, is calculated as the profits gained or losses
 avoided based on the inside information. (8/14/2014 Decision and Order (Dkt. #152), at 9, 12.)

 Professor Jarrell and Dr. Zaydenverg both admitted that they did not make the disgorgement
 calculation required to calculate per-share damages that are attributable to Mr. Martoma.
 Professor Jarrell testified that he did not calculate disgorgement at all: "I'm not calculating
 damages or ill-gotten gains, no." (Jarrell Dep. 122:20-24; see also 12/4/2015 Jarrell Report
 ~ 106.) Rather, Professor Jarrell testified that it was his understanding that the disgorgement
 calculation was being performed by another purported expert, Dr. Zaydenverg. (Jarrell Dep.
 122:25-123:8; 12/4/2015 Jarrell Report~ 106.) Dr. Zaydenverg, in tum, testified that he was not
 asked to, and did not, provide any opinion on the profits gained and losses avoided - i.e., the
 disgorgement calculation- with respect to Mr. Martoma. (Zaydenverg Dep. 158:20-161 :17.)

 In short, Plaintiffs seek to establish damages for tippee liability as to Mr. Martoma solely
 through the opinions of two purported experts, both of whom have admitted that they did not
 make one of the two calculations required to calculate those damages. As a result, Plaintiffs
 have not established any damages for tippee liability attributable to Mr. Martoma, who is entitled
 to summary judgment on Plaintiffs' claims for tippee liability against him.




 cc:    All Counsel of Record (via email)




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